                             UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

UNITED STATES OF AMERICA                         )
                                                 )
v.                                               )           No. 3:11-00194
                                                 )           JUDGE CAMPBELL
STERLING RENEVA RIVERS                           )

                                             ORDER

       Pending before the Court are a Motion To Proceed Pro Se Accompanied With Elbow-

Counsel (Docket No. 592), filed by Defendant Rivers, pro se; and a Motion For Hearing To

Ascertain Status Of Counsel Or, In The Alternative, Motion To Withdraw (Docket No. 603),

filed by counsel for Defendant Rivers. The Court held a hearing on the Motions on August 24,

2012. The Motions are RESERVED pending further Order of the Court.

       At the hearing, the Defendant spoke at length in support of his motion and his reasons for

distrusting the four attorneys who have been appointed to represent him. The Defendant alleges

acts of sabotage, bribery and conspiracy involving his attorneys and the Government, among

other things, to cover up official Government corruption. The Defendant also presented a video

recording, which was viewed in Court, and various exhibits.

       For the reasons stated on the record at the hearing, based on the Court’s observations at

the hearing and the Defendant’s previous pro se filings, the Court finds reasonable cause to

believe that the Defendant may presently be suffering from a mental disease or defect rendering

him mentally incompetent to the extent that he is unable to assist properly in his defense.

       Pursuant to 18 U.S.C. §§ 4241 and 4247, Rule 12.2(c) of the Federal Rules of Criminal

Procedure, and the inherent powers of the Court, the Defendant is remanded to the custody of the

Attorney General for placement in a suitable facility for a reasonable period, not to exceed thirty



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(30) days, for a determination of the Defendant’s mental competency to assist properly in his

defense. 18 U.S.C. § 4247(b). Pursuant to 18 U.S.C. § 4247(b), a reasonable extension, not to

exceed fifteen (15) days, may be granted upon a showing of good cause that additional time is

necessary to observe and evaluate the Defendant.

       Pursuant to 18 U.S.C. § 4247(c), a report shall be prepared as a result of this examination

and “shall be filed with the court with copies provided to the counsel for the person examined

and to the attorney for the Government,” absent further order of the Court. Id. The report shall be

filed under seal.

       Counsel for the parties shall promptly provide any appropriate documentation to the

mental health professional conducting the evaluation.

       The Defendant’s competency to assist properly in his defense must be determined before

the Court can rule on the Defendant’s Motion to represent himself in this case. Accordingly, the

pending Motions are RESERVED pending further order of the Court.

       The pretrial motion deadline for this Defendant only is cancelled and will be reset once

the Defendant’s competency issue is resolved.

       The Court denied the Defendant’s oral motion to reconsider his detention on the ground

that the Defendant has not submitted any new evidence. See Order (Docket No. 566).

       It is so ORDERED.


                                                     TODD J. CAMPBELL
                                                     UNITED STATES DISTRICT JUDGE




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